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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :                  Chapter 11
                                                               :
ROCHESTER DRUG                                                 :                  Case No. 20-20230 (PRW)
CO-OPERATIVE, INC.                                             :
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

     ORDER GRANTING LIQUIDATING TRUSTEE’S FIRST OMNIBUS OBJECTION
             (BOOKS AND RECORDS) TO CLAIMS FILED AGAINST
         ROCHESTER DRUG CO-OPERATIVE, INC. BY FINSON LAW FIRM


           Upon the First Omnibus Objection to Claims (Books and Records) Filed Against Rochester

Drug Co-Operative, Inc. by Finson Law Firm (the “Objection”)1 of the Liquidating Trustee for

entry of an order (this “Order”) either (i) disallowing and expunging or (ii) continuing for further

supporting documentation the Claims listed on Exhibit A (as specifically set forth therein)

pursuant to section 502(b) of the Bankruptcy Code, all as more fully set forth in the Objection; and

upon the Declarations of David Greenblatt and Judith Elkin and the hearings held on November 3,

2022 and December 15, 2022; and the Court having found as follows: (i) it has jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference from the United

States District Court for the Western District of New York, dated February 29, 2012; (ii) this is a


1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Objection.


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core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) venue of this proceeding and the Objection

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; (iv) the Liquidating Trustee

provided appropriate notice of the Objection and the opportunity for a hearing on the Objection;

and (v) under the facts and circumstances of this Objection, it was appropriate for the Liquidating

Trustee to utilize the omnibus claim objection procedures set out in Bankruptcy Rule 3007(d) and

(e) and the Objection is compliant with the Rules. The Court having, reviewed the Objection, heard

argument on the Objection and determined that the legal and factual bases set forth in the Objection

establish just cause for the relief granted herein; and upon all of the proceedings had before the

Court; and after due deliberation and sufficient cause appearing therefor, it is

        HEREBY ORDERED THAT:

                 1.         The Objection is granted as specifically set forth on Exhibit A.

                 2.         Each of the Claims listed as “Disallowed” on Exhibit A are hereby

disallowed and expunged.

                 3.         The Objection to the Claims of (i) Tammy Agoney (POC #20113); (ii)

Christina Barger (POC #20140); and (iii) Chad Beach (POC #20147) (collectively, the “Continued

Claim Objections”) are hereby continued for thirty (30) days subject to receipt by the Liquidating

Trustee of documentation showing the dollar amount of each claim and the relationship of the

dollar amount to the damages suffered by the Claimant as a result of the actions of the above-

named Debtor.

                 4.         The claims agent is authorized to update the Claims Register to reflect the

relief granted in this Order.

                 5.         The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.




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                 6.         The Liquidating Trustee is authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Objection.

                 7.         This Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Order. If the Continued Claim Objections cannot be resolved

by agreement after the appropriate documentation is provided, either party may seek to have the

Continued Claim Objections set for further hearing before the Court.

Dated: December ____, 2022.


                                                  THE HONORABLE PAUL R. WARREN,
                                                  UNITED STATES BANKRUPTCY JUDGE




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                                           EXHIBIT A

Claimant Name           POC          Reason for Objection: Unless       Disposition
                        Number(s)    otherwise indicated, documents
                                     provided by Claimant do not
                                     show amount or nature of
                                     damages or any connection to
                                     Debtor. Other bases for
                                     objections as set forth below.
                                     Claimant’s state of residence
                                     shown.
AARON, CHARLES               20093 FL                                   Disallowed
ABLE, SHAWN                  20098 VA                                   Disallowed
ABOUD, RYAN                  20097 TX                                   Disallowed
ABRAM, ROBERT                20102 KY. Claim 21450 filed by Robert      Both Claims Disallowed
                             21450 Abram OBO Mary Abram.
ACEVEDO, RICHARD             20105 NC                                   Disallowed
ACKLAM, WILLIAM              20083 WI                                   Disallowed
ACORD, JEFFREY               20084 WV                                   Disallowed
ADAMS, CINDY                 20182 AL                                   Disallowed
ADAMS, MATTHEWS              22178 FL                                   Disallowed
ADAMS, RONALD                20086 OH                                   Disallowed
ADAMS, SHARON                20223 WV                                   Disallowed
BAKER
ADKINS, APRIL                20108 AL                                   Disallowed
ADKINS, JENNIFER             20110 IN                                   Disallowed
ADKINS, JIMMY                20112 TN                                   Disallowed
AGIN, DAVID                  20087 OK                                   Disallowed
AGONEY, TAMMY                20113 NY. Documents show Claimant          Continue 30 days for
                                   filled prescriptions at RDC member   proof of dollar amount
                                   pharmacy                             of damages and relation
                                                                        of damage amount to
                                                                        RDC
AGUIRRE, IDA                 20103 AZ                                   Disallowed
AKERS, CHRISTOPHER           22180 OH                                   Disallowed
ALDRICH, JAMES               20089 GA                                   Disallowed
ALEXANDER, ANNE              20082 CA                                   Disallowed
EVETTE
ALEXANDER, APRIL             20183 UT                                   Disallowed
ALFORD,                      20184 NC                                   Disallowed
WILHELMINA
ALI, JACLYN                  22181 CT                                   Disallowed
ALLEN, FLYNN                 20106 FL                                   Disallowed
ALLEN, JERRI                 20109 AL                                   Disallowed
ALLEN, JULIA                 20185 AL                                   Disallowed



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Claimant Name           POC          Reason for Objection: Unless         Disposition
                        Number(s)    otherwise indicated, documents
                                     provided by Claimant do not
                                     show amount or nature of
                                     damages or any connection to
                                     Debtor. Other bases for
                                     objections as set forth below.
                                     Claimant’s state of residence
                                     shown.
ALLEN, MICHAEL               20090 ID                                     Disallowed
ALLEN, SCHEDRICK             20186 TX                                     Disallowed
ALLISON, JOHN                20111 TX                                     Disallowed
ALTIZER, RODNEY              22183 IN                                     Disallowed
ALTON, HALEY                 20117 NV?                                    Disallowed
ALVAREZ, ELIAS               20187 AZ                                     Disallowed
ALWIN, LINDSAY               22184 WI                                     Disallowed
AMES, WILLIAM                22185 AZ                                     Disallowed
ANDERSON, BRADLEY            20190 LA                                     Disallowed
ANDERSON, HENRY              20188 CA                                     Disallowed
ANDERSON, JEFFREY            20118 AZ                                     Disallowed
ANDERSON, KEITH              20121 OH                                     Disallowed
ANDERSON, ROBERT             20189 ?                                      Disallowed
ANDERSON, TONY               20126 KY                                     Disallowed
ANGLIN, CHARLES              22186 FL                                     Disallowed
ANIOLOWSKI, JOE              20191 MA                                     Disallowed
ANTHONY, DEREK               20132 GA                                     Disallowed
APOSTOLEC, BRIAN             20192 WA                                     Disallowed
APPLIN, GEORGE               20133 OH                                     Disallowed
APTHEKER, MINDY              21718 FL                                     Disallowed
SCHACTER
ARELLANO, FLORA              20193 AZ                                     Disallowed
ARMER, JESSIE                20194 IL                                     Disallowed
ARMSTRONG,                   20198 LA                                     Disallowed
DAVIDA SUSAN
ARNOLD, CHARLES              20199 GA                                     Disallowed
ARNOLD, GREGORY              20115 MI                                     Disallowed
ARRINGTON, JEFFREY           22188 MA                                     Disallowed
ASBERRY,                     20116 KS                                     Disallowed
ZAPHANIAH
ASHMORE, DAVID JR            22191 KY. Duplicate of claim 22192.          Disallowed
ASHMORE, DAVID, JR           22192 KY. Claim 22192 duplicate of claim     Both Claims Disallowed
                             22193 22191. Claim 22193 is filed by David
                                   Ashmore Jr. OBO Roberta Ashmore.
AULISIO, ANTHONY             20202 PA                                     Disallowed



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Claimant Name           POC           Reason for Objection: Unless        Disposition
                        Number(s)     otherwise indicated, documents
                                      provided by Claimant do not
                                      show amount or nature of
                                      damages or any connection to
                                      Debtor. Other bases for
                                      objections as set forth below.
                                      Claimant’s state of residence
                                      shown.
AUSTIN, AUBREY               22194 No documents provided.                 Disallowed
AUTREY, KYMBERLY             20204 GA                                     Disallowed
AVERINE, PHYLLIS             20120 NH                                     Disallowed
AVILA, ERIC                  20094 KS                                     Disallowed
AVILA, RAMON                 22195 NM                                     Disallowed
BABCOCK, PHILLIP             20095 MO                                     Disallowed
BACHMAN, JOHN                20122 OH                                     Disallowed
BACON, GAYLE                 20123 MT                                     Disallowed
BAGLEY, JEREMY               20096 NY                                     Disallowed
BAGWELL, RODNEY              20206 MS                                     Disallowed
BAILEY, DERLE, SR            21664 FL. Duplicates. Claim 21664 is filed   Both Claims disallowed
                             22196 by Derle Bailey Sr. OBO Derle Bailey
                                   Jr.; claim 22196 is filed by Derle
                                   Bailey Sr. OBO Derle Bailey.
BAILEY, DEXTER, JR           20125 FL                                     Disallowed
BAILEY, TANIKA               20127 NC                                     Disallowed
BAINTER, TRACEY              20207 IL                                     Disallowed
ANN
BAKER, DAVID                 20219 OH                                     Disallowed
BAKER, ROBERT                20129 PA. Duplicates. All three claims are   All three Claims
                             20221 filed by Robert Baker; filed on        Disallowed
                             22413 7/14/20, 7/15/20 and 7/31/20
                                   respectively.
BAKER, TRISHA LYNN           20209 SC                                     Disallowed
BALCKSHIR, EMMITT            20330 GA. Should be BLACKSHIR (typo in       Disallowed
                                   original POC).
BALDRIDGE,                   20130 AZ                                     Disallowed
SAMANTHA
BANAS, DONALD                20136 MO                                     Disallowed
BANKS, EDWANNA               20137 AR                                     Disallowed
BARAJAS, JIMMY               20138 CA                                     Disallowed
BARGER, CHRISTINA            20140 NY. Documents show Claimant            Continue 30 days for
                                   filled prescriptions at RDC member     proof of dollar amount
                                   pharmacy                               of damages and relation
                                                                          of damage amount to
                                                                          RDC



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Claimant Name           POC          Reason for Objection: Unless       Disposition
                        Number(s)    otherwise indicated, documents
                                     provided by Claimant do not
                                     show amount or nature of
                                     damages or any connection to
                                     Debtor. Other bases for
                                     objections as set forth below.
                                     Claimant’s state of residence
                                     shown.
BARKER, RACHEL               20142 IL                                   Disallowed
BARNES, ROXANNE              20144 AK                                   Disallowed
BARNES, STACY                20148 IL                                   Disallowed
BARNETT, ROBERT              20151 AL                                   Disallowed
BARR, VERONICA               20224 FL                                   Disallowed
BARRETT, SCOTT               20153 IN                                   Disallowed
BARROWS, LINDA               20141 MI                                   Disallowed
BARTHOLOMEW,                 20143 WA                                   Disallowed
LETICIA
BARZILAY, SIMON              20226 CA                                   Disallowed
BASALDU, TINA                20230 TX                                   Disallowed
BASSETT, JONATHAN            22197 GA                                   Disallowed
BASTO, ARLENE                22321 AZ                                   Disallowed
BATSON, LAURENCE             20232 OR                                   Disallowed
BAULOS, NATALIE              22198 MN                                   Disallowed
BAXTER, BELINDA              20146 TX (all documents for Belinda        Disallowed
                                   Bazan); no connection to name
                                   Baxter; see Bazan POC below.
BAXTER, KEITH                20145 NY                                   Disallowed
BAYLIFF, DEBBIE              20233 TX                                   Disallowed
BAZAN, BELINDA               22199 No documents; see Baxter claim       Disallowed
                                   above.
BEACH, CHAD                  20147 PA. Documents show Claimant          Continue 30 days for
                                   filled prescriptions at RDC member   proof of dollar amount
                                   pharmacy                             of damages and relation
                                                                        of damage amount to
                                                                        RDC
BEASLEY, JOSEPH              20234 NC                                   Disallowed
BEAVER, LINDZAY              20150 No documents provided.               Disallowed




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